CJA 20 A.PP OINTMENT OF AND AUTHORITY TO PAY COU'RT APPOINTED COUNSEI.

1.€1R.m15r.m1v.£iase lMR@oN;b@M&N}E})T Document 71 Fl|ec| 07/26 O&)U(BMI&BQ§ 4 Pagelu 114
TNW Smim, Albert Leon

J. MAG. DKT.:’DEF. NUMBER 4. DIST. DKT.:'DEF. NUIVIBER
1:04-010046_001

7. IN CASEMATTER OF (Case Nome) 8. PAYMENT CATEGORY
U.S. v. Smith Felony Adult Defendant
ll. OFFENSE[S) CH A.RGED {Cite U.S. Code, Title & Sel.‘tion) Il' more than one oll'ense, list (up to five) major offenses cherged, according to severity ofoffense.

l) 21 841A=CD. F -- CONTROLLED SUBSTANCE - SELL, DISTRIBU TE, OR DISPENSE

 

 

 

 

5. APPEALS DKT./DEF. NUMBER 6. OTHER DKT. NU'MBER

 

9. TYPE PERSON REPRESENTED 10» REP RESENTATION TYPE

(See Insh"\lrlmns)

Appeal of Tn`al Disposition

 

 

 

 

l?.. ATTORNEY'S NA.ME Eg§rst Name, M.l.,l.ost Name,inr|uding anysntl'ix] 13. COURT ORDER

MAILING ADDR m 0 AppointingCnunsel [:] C C¢>Cou'nse|
BROOKS, ROBERT C, [:] F' SllbsForFederalDefender \:l R ths ForReteined Altorney
P.O. BOX 771558 m " S“bSF“erlAffvrl\¢y ij Y standby counsel

Prior Attorney's Neme:
Appointmentl]ete:

Cl Bernuse the abovenamed person represented has testified under oath or has
otherwise satisfied this court that he or she (l) is limocillly unable to employ counsel end
(2) does not wish to waive counsel, end because the interests ufjusti¢¢ so require, the

T ' ,.' l" '" .
lttorneyw me name uppears in Item ll is appointed to represent this person in this euc,
ld. NAl\'iE AND MAIL]NG ADDRESS OF LAW FIRM (only provide per instructions) or W
o-.I

 

MEMPHIS TN 38177

 

    

` I‘r'eoiding .ludicil] Oflioer or By Order ol' the Court
07/] R/’)OO‘§
Nunc Pro Tunc l`late

of Order
Ro|m nt or per\;iel repayment ordered from tim person represented for this s ervice et
time o appointment. n Y'ES m NO

 

 

 

 

 

   

 

TOTAL
AMOUNT
CLATMED

 

MATH."TECH
AD.TUSTED
HOURS

HOURS

CATEGORIES (Attach itemization ofservices with dates) CLAIMED

 

 

 

 

 

 

15. a. Arraignment and/or P}ea

 

 

 

 

 

 

 

 

 

 

 

 

b. Bail and Deteniion Hearings

 

 

 

 

 

 

 

 

 

 

 

c. Motion Hearings
d. 'l`l'l'a]

e. Sentencing Hearings

 

 

 

 

 

 

 

 

m

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f. Revocation Hearings

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

g. Appeals Court
h. Other (Specify on additional sheets)

 

 

 

 

»-|=Q(°]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Rate per hour = 8 ) TO'|`ALS:

 

 

 

 

 

 

a. Illterv'iews and Collfercnces

P\

 

 

 

 

 

 

 

 

 

 

 

 

 

b. Obtaining and reviewing records

 

 

 

 

 

rr:c.

 

 

 

 

 

 

 

 

 

 

 

 

c. Logal research and brief writing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

d. Travel time

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Sperify on additional sheets}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

c. Investigative and Other work

 

'*~1=¢\’} -»:

(Rate per hour = S ) TOTALS:

 

 

 

 

 

 

 

 

l7. Travel EXpeIlseS (lodging,porking, meals, mileage, etc.)

 

 

 

 

   
 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Othel' Expense.§ (uther than expert, transcripts, etc.]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

19. CER TI'FICA'UON OF ATTORNEY/PAYEE FOR TH'E PERIOD OF SERVICE
FROM TO

10. AFPO]NTMENT TERMINATION DATE
lF OTHER THAN CASE CO]\'lPLE’f'ION

21. CASE DISPO SITION

 

 

 

22. C LAIM STATUS ll Final Payment [l In¢.erim Payment Numher m Supplementa| I’eyment
Have you previously applied to the courtfu' compensation and!or remimbursement for this clse‘:' i:l YES g NO If yes, were you plid? I:i `YES |:\ NO
Other than l`rom the court, have you, or to your knowledge has anyone else, rtceived payment (cnmpemalioh or anything or value] from ny other sourt'e in connection Willl this
reprmenlntion? ij YES m NO Il' yes, give details on additional sheels.

l swear orall':rm the truth or correctness ofthe above statements.

Signoture ol' Attorney: Doto:

 

 

 

 

 

 

 

 

 

 

 

 

23. IN COURT COMP. 24. C|UT OF COURT CON[P. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 27. TOTAL AMT. AI’PRI CERT

 

2.8. SIGNATU`RE OF THE PRESIDING .]'UDICIAL OFFICER DATE 281. .]'UDGEIMAG.JUDGE CODE

 

29. IN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPROVED

 

 

 

34. SlGNATU'RE OF CHIEF JUDGE, CO`U'RT OF APP EALS (OR DELEGATE) Payment DATE 343. JUDGE COI)E

approved in excess ufl.he stimlorythreshold lmollnt.

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of thc document docketed as number 71 in
case 1:04-CR-10046 Was distributed by faX, mail, or direct printing on
July 26, 2005 to thc parties listcd.

 

 

Robcrt C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

Mcmphis7 TN 38177

Jcrry R. Kitchen

U.S. ATTORNEY
109 S. Highland Avc.
Jackson7 TN 38301

Honorablc J ames Todd
US DISTRICT COURT

